UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

GREENVILLE DIVISION
IN RE: )
) Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1, )
LLC, d/b/a WASHINGTON COUNTY ) Chapter 11
HOSPITAL, )
)
Debtor. )
)

 

TRUSTEE’S EMERGENCY MOTION FOR AUTHORITY TO (1) REJECT CERTAIN
EXECUTORY CONTRACTS WITH iHEALTHCARE MANAGEMENT II COMPANY
AND iHEALTHCARE SOFTWARE SERVICES, INC. AND (2) ENTER INTO INTERIM
MANAGEMENT AGREEMENT WITH iHEALTHCARE MANAGEMENT II
COMPANY AND iHEALTHCARE SOFTWARE SERVICES, INC,

 

NOW COMES Thomas W. Waldrep, Jr., trustee (the “Trustee”) for CAH Acquisition
Company #1, LLC d/b/a Washington County Hospital (the “Debtor”), by and through undersigned
counsel, and pursuant to Sections 363, 365, and 1107 of Title 11 of the United States Code, 11
U.S.C. §§ 101 et seg. (the “Bankruptcy Code”), and Rules 6004 and 6006 of the Federal Rules of
Bankruptcy Procedure (the “Bankruptcy Rules”), hereby moves the Court for entry of an order
authorizing the Trustee to: (i) reject certain pre-petition executory contracts between the Debtor,
iHealthcare Management II Company, a Florida corporation (“Manager”), and iHealthcare
Software Services, Inc., a Florida Corporation (“Consultant”); and (ii) enter into an Interim
Management Agreement for Washington County Hospital between the Debtor, Manager, and
Consultant. In support thereof, the Trustee respectfully states as follows:

JURISDICTION AND VENUE

1. This Court has jurisdiction to entertain the Motion pursuant to 28 U.S.C. §§

157 and 1334. Consideration of the Motion is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(A).
2. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

3. The statutory predicates for the relief requested herein are Bankruptcy Code
Sections 363, 365, and 1107, and Bankruptcy Rules 6004 and 6006.

FACTUAL BACKGROUND
Procedural Background

4, On February 19, 2019 (the “Petition Date”), Washington County, North Carolina,
Medline Industries, Inc., and Dr. Robert Venable (collectively, the “Petitioning Creditors”) filed
an involuntary petition for relief under Chapter 7 of the Bankruptcy Code against the Debtor [Dkt.
No. 1].

5. On February 20, 2019, the Petitioning Creditors filed an Emergency Motion for
Order Appointing Trustee Pursuant to 11 U.S.C. § 303(g) [Dkt. No. 5].

6. On February 22, 2019, the Court entered an Order approving the appointment of
the Trustee [Dkt. No. 14]. The Trustee is the duly appointed, qualified, and acting trustee of the
Debtor’s estate.

it's On February 25, 2019, the Trustee filed his Emergency Ex Parte Motion for Order
for Authority to Operate Washington County Hospital Pursuant to 11 U.S.C. § 303(g) [Dkt. No.
18].

8. On February 26, 2019, the Court entered an Order authorizing the Trustee to operate
the business of the Debtor during the period of time that the Trustee remains in place, to the
exclusion of any other parties [Dkt. No. 19].

ai On March 14, 2019, the Debtor filed an Emergency Motion for Entry of Order for
Relief and to Convert Involuntary Chapter 7 Case to Chapter 11 Case and Consent to Appointment

of Chapter 11 Trustee [Dkt. No. 27].
10. On March 15, 2019, the Court entered an Order for Relief in the Debtor’s Chapter
7 case and simultaneously converted the Debtor’s case from one under Chapter 7 to one under
Chapter 11 of the Bankruptcy Code [Dkt. No. 28].

7. The Debtor owns Washington County Hospital (““WCH”), a twenty-five-bed, for-
profit, Critical Access Hospital (“CAH”) in Plymouth, North Carolina. Until February 14, 2019,
WCH provided acute care, swing bed, emergency medicine, imaging, rehabilitation, laboratory,
and related outpatient ancillary services to residents in Plymouth and in surrounding communities.
WCH also operates Plymouth Primary Care Rural Health Clinic (the “Clinic”), a Provider-Based
Rural Health Clinic. The Clinic is adjacent to WCH.

8. Upon information and belief, the Debtor is currently owned by HMC/CAH
Consolidated, Inc., a Delaware corporation (““HMC/CAH”). Upon information and_ belief,
HMC/CAH is in the business of acquiring and operating a system of acute care hospitals located
in rural communities that are certified by The Centers for Medicare and Medicaid Services
(“CMS”) as CAHs. Upon information and belief, HMC/CAH owns rural hospitals in several states,
including Kansas, Oklahoma, Missouri, Tennessee, and WCH in North Carolina.

Pre-Petition Management of WCH

9. Upon information and belief, through and until January 7, 2019, EmpowerHMS
LLC (““EmpowerHMS”) operated WCH. EmpowerHMS is a Delaware limited liability company
headquartered in Kansas City, Kansas. Upon information and belief, EmpowerHMS formerly
provided the financial support, legal support, centralized business office, and revenue cycle and
IT services necessary to WHC’s operations.

10. Upon information and belief, as of January 7, 2019, EmpowerHMS no longer

operated or managed WCH, the management of which was transferred to Manager and Consultant
pursuant to (1) a Management and Administrative Services Agreement (the “Terminating
Management Agreement”) dated as of January 7, 2019, by and between the Debtor and Manager;
(ii) an EHR and RCM Services Agreement dated as of January 7, 2019 by and between the Debtor
and Consultant; and (iii) an 77 Help Desk Support & Daily Backup Services Agreement also dated
as of January 7, 2019 by and between the Debtor and Consultant (together with the EHR and RCM
Services Agreement, collectively, the “Terminating Services Agreements”).

11. Upon information and belief, since January 7, 2019, Manager and Consultant
attempted to begin to manage WCH, but such efforts were delayed by a number of transition and
financial issues with EmpowerHMS.

Post-Petition Events

12. Since his appointment on February 22, 2019, the Trustee has traveled to WCH in
Plymouth, North Carolina on two separate occasions and met with several of the key personnel at
WCH, including the remaining administrative and clinical staff of WCH, as well as with the
Washington County, North Carolina Manager and County Attorney. The Trustee has also spent
considerable time consulting with many entities that have an interest in WCH, including
Washington County, the North Carolina Department of Health and Human Services, the main
secured creditor for WCH, as well as Manager and Consultant.

13. The Trustee has concluded that in order to preserve the property of the Debtor’s
estate, to prevent further loss to the estate, and to maximize the value of the assets of WCH for the
benefits of creditors of WCH, WCH must be reopened and brought back to operational status.
Reopening WCH will allow WCH to keep its license as a CAH; preserve and maintain WCH’s

drugs, equipment, and supplies; preserve and safeguard patient records; and, most importantly,
continue providing for the public health of residents of Washington County, many of whom depend
on WCH and the Clinic as the only avenue for emergency healthcare in the County.

14. — Since February 22, 2019, the Clinic has reopened, and patients are being seen under
the able care of Dr. Robert Venable and his staff at WCH. The remaining administrative and
clinical staff of WCH have also been paid for their labor by the Trustee.

Post-Petition Interim Management of WCH

15. In order to reopen WCH, the Trustee must retain a healthcare management
company that is able to provide the centralized business office, revenue cycle management, billing,
patient record, patient intake, and IT services necessary to WCH’s operations. In traditional
“healthy” hospital settings, such management agreements can run well into the hundred of
thousands of dollars per month. In addition, the transition from one management company to
another can take several months to complete in a hospital setting, a period time which neither the
Trustee nor WCH cannot spare.

16. Recognizing the truly distressed setting of WCH, coupled with the fact that the
Trustee does not have an unlimited budget or timeline in this case, the Trustee has concluded in
his business judgment that the current Manager and Consultant offer the only feasible alternative
to manage WCH, on an interim basis, until the operations of WCH are properly stabilized.

17. The Trustee has reviewed the Terminating Management Agreement and
Terminating Services Agreement and concluded that such agreements are not appropriate to deal
with the current, post-petition situation at WCH. Instead, the Trustee has proposed a new interim
management agreement with Manager and Consultant (the “Interim Management Agreement”),
one that recognizes the Trustee’s authority over all of WCH’s decisions, management, and

operations during the Trustee’s tenure as trustee, as well as significantly reduces the fees associated
with the Manager’s and Consultant’s interim management of WCH. The proposed Interim

Management Agreement—which has been reviewed and approved by Manager and Consultant—

is attached to this Motion as Exhibit A.

18. The key terms of the Interim Management Agreement are as follows:

a.

Term: Six (6) months, but subject to a 30-day termination for any reason by the
Trustee.

Management Fee: $30,000/month or twelve percent (12%) of the prior month’s
collected cash revenues, whichever is greater. Payment shall be one (1) month
in arrears. In addition, Manager shall be entitled to a six percent (6%) fee on
net collections in order to perform revenue cycle management (RCM) functions
on behalf of WCH, which shall also be paid one (1) month in arrears.
Management Services: Manager and Consultant shall perform all the duties that
are typical and customary for a manager of an acute general medical and
surgical hospital, as outlined in detail in the Interim Management Agreement.
Reports: Manager shall provide Trustee with regular and timely written
management reports, as needed, to ensure WCH maintains compliance with all
federal and state law regulations, and with any relevant bankruptcy issues.
Limitations on Manager’s Duties and Powers: Manager lacks the authority to
catry out any decisions out of the ordinary course of business unless with prior
written authority by the Trustee.

Termination: Trustee may terminate the Interim Management Agreement for

any reason upon providing thirty (30) days’ notice to Manager and Consultant.
RELIEF REQUESTED

Authority to Reject Terminating Management Agreement and Terminating Services Agreement

19. The Trustee seeks authority from this Court, pursuant to Section 365 of the
Bankruptcy Code and Bankruptcy Rule 6006, to reject the Terminating Management Agreement
and Terminating Services Agreements, both executory contracts, because these contracts (i) are no
longer necessary or appropriate in connection with the operation of WCH’s business, (ii) offer no
economic value to the Debtor’s estate, and (111) will impede the goal of reopening WCH without a
significant fee associated with such management contracts.

20. Section 365(a) authorizes a trustee or debtor-in-possession to reject any executory
contract or unexpired lease, subject to bankruptcy court approval. 11 U.S.C. § 365(a).

21. Although Section 365(a) does not provide a standard for determining when
rejection is appropriate, bankruptcy courts have traditionally applied the “business judgment
standard in determining whether to permit the rejection of any executory contract or unexpired

lease.” See NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984); Lubrizol Enters., Inc. v.

 

Richmond Metal Finishes, Inc., 756 F.2d 1043, 1046-47 (4th Circ. 1985); In re Minges, 602 F. 2d

 

38, 42 (2d Cir. 1979). The decision to reject a lease or executory contract is to be accepted unless
it is shown that the debtor’s decision was one taken in bad faith or in gross abuse of the debtor’s
retained business discretion. Lubrizol, supra.

22. For the reasons stated herein, the Trustee submits that it has satisfied the business
judgment standard in seeking rejection of the Terminating Management Agreement and
Terminating Services Agreement with Manager and Consultant, respectively, and requests

authority from this Court to do so effective as of the Petition Date.
Authority to Enter into Interim Management Agreement

23. In addition, the Trustee seeks authority from this Court, pursuant to Section 363 of
the Bankruptcy Code and Bankruptcy Rule 6004, to enter into the Interim Management Agreement
with Manager and Consultant.

24. Section 363(b) authorizes a trustee or debtor-in-possession to use, sell, or lease
property of the estate other than in the ordinary course of business, subject to notice, a hearing,
and bankruptcy court approval. 11 U.S.C. § 363(b).

25. As previously stated, the Trustee believes that in order to preserve the property of
the Debtor’s estate, to prevent further loss to the estate, and to maximize the value of the assets of
WCH for the benefits of creditors of WCH, WCH must be reopened and brought back to
operational status. In order to reopen WCH, the Trustee must engage a hospital management
company that can provide the centralized business office, revenue cycle management, billing,
patient record, patient intake, and IT services necessary to WCH’s operations.

26. The Trustee believes Manager and Consultant are best suited to provide such
management services to WCH, on an interim basis, given that Manager and Consultant (i) are
already familiar with WCH’s situation; (11) already have access to all of the software, patient
records, billing records, and administrative records of WCH,; (iii) have agreed to the terms of the
Interim Management Agreement that recognize the truly distressed nature of WCH with regard to
management fees and management services; and (iv) are willing and able to undertake the
management tasks at WCH without significant delay or immediate expenditure by the Debtor’s
estate.

27. The Manager and Consultant have prepared a proposed budget, and the Trustee has

approved it. The proposed budget gives the Court some indication of the costs that the Trustee
expects to incur and the revenues that the Trustee expects to obtain in re-opening WCH. The
proposed budget is attached hereto as Exhibit B. The budget will be finalized if the Court grants
this Motion, but the Trustee does not expect it to change significantly.

28. Therefore, the Trustee believes it is in the best interests of the Debtor’s estate to
enter into the Interim Management Agreement with Manager and Consultant for the management
of WCH on an interim basis.

WHEREFORE, the Trustee respectfully requests that the Court enter an Order:

1. Authorizing the Trustee to reject the Terminating Management Agreement and
Terminating Services Agreement effective as of the Petition Date, pursuant to Section 365(a) of
the Bankruptcy Code;

ya Authorizing the Trustee to enter into the Interim Management Agreement, pursuant
to Section 363(b) of the Bankruptcy Code; and

3. Granting such other and further relief as this Court deems just and proper.
Respectfully submitted, this the 21st day of March, 2019.

WALDREP LLP

/s/ Thomas W. Waldrep, Jr.

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EXHIBIT “A”
WASHINGTON COUNTY HOSPITAL
INTERIM MANAGEMENT AGREEMENT

THIS INTERIM MANAGEMENT AGREEMENT (the “Agreement”) is made as of the day of
March, 2019 (the “Effective Date”), by and among the following parties:

(i) Thomas W. Waldrep, Jr., in his capacity as the Court-appointed trustee (“Trustee”) for CAH
Acquisition Company #1, LLC (the “Debtor”), a Delaware limited liability company that owns,
operates, and holds the license for that certain acute general medical and surgical hospital known

primarily as Washington County Hospital and sometimes as Washington County Community Hospital
located 958 US Highway 64 East Plymouth, NC 27962 (“WCH”); and

 

(iit) tHealthcare Management IT Company, a Florida Corporation and hospital management company
that assumed management of WCH on January 7, 2019 (“Manager”); and

(iii) (Healthcare Software Services, Inc., a Florida Corporation that has been providing Data Services (as
defined below) and EHR and RCM Services (as defined below) to WCH since November 1, 2018 and
January 7, 2019, respectively (the ‘Consultant”)

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Trustee, Debtor, Manager, and Consultant are sometimes referred to herein individually as a “Party
or collectively as the “Parties.”

RECITALS
WHEREAS, Debtor owns and operates WCH;

WHEREAS, Debtor holds all such permits and licenses required under applicable law and regulations
to own and operate WCH;

WHEREAS, on February 19, 2019, Debtor was placed in an involuntary Chapter 7 bankruptcy (the
“Bankruptcy Case”) before the United States Bankruptcy Court for the Eastern District of North Carolina (the
“Bankruptcy Court”), Case No, 19-00730;

WHEREAS, on February 20, 2019, upon motion of Debtor’s petitioning creditors, the Bankruptcy
Court appointed Thomas W. Waldrep, Jr. as Trustee for the Debtor;

WHEREAS, on March 14, 2019, the Debtor filed an Emergency Motion for Entry of Order for Relief
and to Convert Involuntary Chapter 7 Case to Chapter 11 Case and Consent to Appointment of Chapter 11
Trustee in the Bankruptcy Case;

WHEREAS, on March 15, 2019, the Bankruptcy Court entered an Order for Relief in the Debtor’s
Chapter 7 case and simultaneously converted the Debtor’s case from one under Chapter 7 to one under Chapter
11 of the Bankruptcy Code;

WHEREAS, Manager has been managing WCH pursuant to that certain Management and
Administrative Services Agreement dated January 7, 2019 (together with all amendments and modifications
thereof and supplements relating thereto, the “Terminating Management Agreement”);

WHEREAS, Debtor engaged Consultant to oversee WCH’s (i) information technology and technical
support services (collectively, the “Data Services”) pursuant to that certain JT Help Desk Support & Daily
Backup Services Agreement dated November 1, 2018; and (ii) electronic-health-record (“EHR”),
reimbursement, revenue-cycle-management (“RCM”), and third-party-billing services (collectively, the “EHR
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and RCM Services”) pursuant to that certain EHR and RCM Services Agreement dated January 7, 2019
(collectively, and together with all amendments and modifications thereof and supplements relating thereto,
the “Terminating Services Agreements”); and

WHEREAS, Trustee, on behalf of Debtor, and pursuant to Section 365 of the United States
Bankruptcy Code, 11 U.S.C. § 101 ef seg. (the “Bankruptcy Code”), has chosen to reject the Terminating
Management Agreement and the Terminating Services Agreements as of the Effective Date;

WHEREAS, to the extent permitted by applicable law, and notwithstanding anything in the
Terminating Management Agreement and Terminating Services Agreements to the contrary, Trustee desires
to engage Manager to manage WCH under the restated terms as provided for herein, effective as the Effective
Date, which management shall continue through and until the conclusion of the Bankruptcy Case, unless
terminated sooner by Trustee as provided for herein;

WHEREAS, the Parties wish to provide for an orderly transition of Manager’s management of WCH,
replacing the terms and conditions as provided for in the Terminating Management Agreement and
Terminating Services Agreements with the terms and conditions as set forth herein, while ensuring the
continuing operation of WCH and the safety, care, and protection of WCH’s patients, and to clarify each Party's
responsibilities and obligations with regard to transition of management of WCH, including certain financial
adjustments relating thereto.

NOW THEREFORE, for and in consideration of the mutual covenants contained herein, and other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties
agree as follows:

AGREEMENT

l. Recitals. The foregoing recitals are hereby incorporated into this Agreement.

2. Appointment and Status of Parties.

a. Appointment: Effective as of the Effective Date, Trustee, on behalf of Debtor, engages
Manager to manage WCH during the Term (as defined in Section 3 herein), pursuant to the
terms and conditions herein provided, which shall include assumption of services analogous
to those formerly provided to WCH by the Consultant under the Terminating Services
Agreements. Notwithstanding Manager’s responsibility for managing WCH, Trustee shall
retain ultimate control of the Debtor and WCH, and Manager shall obtain Trustee’s approval
for any and all material decisions concerning management of WCH.

b. Independent Contractor: Manager is an independent contractor and there is no
employer/employee relationship between the Debtor, the Trustee, and Manager. Moreover,
this Agreement does not create a joint venture or partnership between the Debtor, the Trustee,
and Manager. Manager will perform its duties under this Agreement as an independent
contractor and will not hold itself out in any way to the general public or otherwise as an
employee or subsidiary of the Debtor or the Trustee.

3. Term. This Agreement shall commence on the Effective Date and shall continue for a minimum of
six [6] month term basis for the duration of the Bankruptcy Case, unless sooner terminated as set forth
in Section 7 of this Agreement, or otherwise by the mutual and written agreement of the Parties or
Order of the Bankruptcy Court. This agreement shall automatically extend and renew for an additional
six [6] month period unless canceled.
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Management Fee. As compensation for the Management Services (as defined in Section 5 herein),
consulting, and advisory services to be provided hereunder, Manager shall be entitled to receive and
retain a management fee equal to $30,000 per month or twelve percent (12%) of the prior month’s
collected cash revenues (the “Management Fee”), whichever is greater. Manager shall prepare and
submit an invoice to Trustee requesting a reconciliation payment of the Management Fee that shall
reflect the preceding month’s collected cash revenues and the percentage thereof that Manager is owed
as a Management Fee. Manager shall be paid one month in arrears upon Trustee’s review and approval
of the submitted monthly invoice.

Duties and Responsibilities of Manager; Limitations on Manager’s Exercise of Duties.

a. Description of Management Services: Manager shall perform the duties set forth herein and
all other duties that are typical and customary for a manager of an acute general medical and
surgical hospital and shall do so in accordance with a standard of care, skill, and diligence as
is required by applicable Federal and State laws and regulations; provided, however, that
Trustee shall maintain complete and total control over WCH’s business affairs given the
bankrupt nature of the Debtor. Without the prior written consent of Trustee, Manager shall not
have the authority to enter into any contract or incur any debt or liability in the name of or on
behalf of Debtor or Trustee; to enter into any contract or other agreement inconsistent with the
terms of this Agreement or that may have a durational term that extends beyond the Term of
this Agreement; or to borrow money in the name or on behalf of Debtor or Trustee. During
the Term of this Agreement, Manager shall assist Trustee and Debtor in connection with the
operation of WCH by providing the following management-related services (collectively, the

“Management Services”):

i. Hire and discharge employees of WCH including physicians, physician assistants,
nurse practitioners, registered nurses, care aides, and office and other employees, in
accordance with all applicable laws, rules, regulations, and standards that govern
WCH’s operations;

ii. Provide and maintain proper accounting, billing, and patient records (including
medical, financial, and collection records, whether in hard copy or EHR format).
Given the state of affairs with respect to currently available systems of WCH,
Manager intends to utilize Quickbooks Online, CPSI, ESolutions/Claimremedi Paper
Charts, certain elements of iHeatlhConnect and the reporting available from those
systems to meet the requirements of this section to prepare and file all necessary
reports, claims, and rate increase requests related to RCM and revenue production;
and prepare and file all reports necessary to ensure WCH’s regulatory compliance as
a licensed acute general medical and surgical hospital and as otherwise provided for
herein. Preparation of Medicare and Medicaid Cost Reports will be outsourced to
expert consultants for a fee as preapproved by the Trustee;

iii. Once implemented, Administer and oversee WCH’s computerized physician order
entries, clinical service records, and other information technology (“IT”) systems
required for the efficient management of WCH and its clinical services and customer
service affairs;

iv. Handle all aspects of billing and collecting all revenues, rents, fees, and other charges
from WCH patients or the applicable third-party payors, including Medicare and
Medicaid. This includes executive oversight, off site transaction processing, analysis
and reporting, payment posting and other elements RCM process for which a 6% fee
of net collections will be billed, in arrears, monthly. Manager will evaluate and advise
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the Trustee regarding software maintenance support for CPSI as updates have not been
made for months;

v. Establish and maintain accounting systems via Quickbooks Online and internal
controls consistent and in accordance with all applicable government regulations;

vi. Pay when due, and only after obtaining Trustee’s prior written consent, the cost of
those third-party provider services necessary for Manager to carry out the
management of WCH, together with those certain ordinary and necessary
management expenses of WCH (collectively, the “Administrative Expenses”),
including, but not limited to:

1. The cost of all supplies and equipment necessary to provide care and services
to the patients of WCH. For purposes of this subparagraph, supplies include
those items required for routine hospital maintenance and janitorial services,
linens and bedclothes, bathroom and toileting supplies, patient medications
and personal hygiene products (other than those paid for and purchased by a
third party), laboratory reagents/supplies, radiology contrast supplies,
infusion services and such other supplies as Manager, in its reasonable
discretion, believes are necessary and appropriate for the safe and hygienic
operation of WCH;

2. Insurance premiums and related charges for the insurance described in this
Agreement;

3. All taxes for WCH, including real estate taxes, tangible property taxes, sales
taxes and the like;

4. Any other expense reasonably incurred in the operation of WCH as an acute
general medical and surgical hospital.

b. Maintenance of WCH: Manager shall, at all times during the Term, keep, manage, and
maintain WCH, including, without limitation, all furniture, fixtures, furnishings, equipment,
and other property, in the same condition and repair as originally found, normal wear and tear
excepted. The equipment et al mentioned in this section has not been surveyed nor inventoried
by the hospital or Manager at inception and will be managed in an “as is” condition as no
warranty can be made as to the “originally found” condition or state or quantity of the assets
in general. Defects shall be reported to the Trustee as they are discovered for resolution.
Manager specifically disclaims any warranty on the condition of the assets at inception.

c. Rates and Charges: Manager shall advise Trustee with respect to rates and fees for the services
furnished at WCH consistent with any applicable governmental regulations.

d. Use and Operation of WCH: WCH shall be used and operated as an acute general medical and
surgical hospital. WCH and its staff shall provide care and services to patients in a manner
consistent with said use and operation and for no other purpose without Trustee’s prior written
consent. Without Trustee’s prior written consent, Manager shall not utilize WCH for any other
purpose than as an acute general medical and surgical hospital and shall not reduce the number
of licensed beds. Manager shall not cause or permit any waste of WCH.

 

e. Reports: Manager shall keep Trustee informed as to the general operating condition and
management status of WCH and shall provide Trustee with regular and timely written

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management reports, as may be needed to ensure that WCH maintains compliance with all
applicable Federal and State laws and regulations, any formal action taken or requests made
by any regulatory agency, any relevant Bankruptcy Case proceedings, and any Order or other
ruling issued by the Bankruptcy Court with respect to the Bankruptcy Case of Debtor. Further,
Manager shall timely respond to any ad-hoc or emergency request made by Trustee for a
written report or other information.

f. Limitations on Manager’s Exercise of Duties. Manager shall not have inherent or discretionary
authority to undertake certain actions on WCH's behalf in the exercise of its management
duties without the advanced written consent of Trustee. Such actions that Manager lacks
authority to carry out under this Agreement include, but are not be limited to, the following
items:

 

i. Purchase capital assets or incur any capital expenses on WCH or Debtor’s behalf;

ii, Incur debt on behalf of WCH or Debtor beyond Administrative Expenses approved
by the Trustee in writing;

iii. Encumber WCH or Debtor property, or sell or dispose of any material assets;

iv. File or settle litigation arising out of this Agreement or in connection to the
management or operations of WCH;

v. Grant any person any rights with respect to the ownership of, or limiting the activities
of, WCH;

vi. Adopt or amend employee equity and benefit plans;
vii. Hire or fire officers or key employees;

viii. Enter into employment agreements, or amending the terms of employment, for
officers or key employees;

ix. Borrow or lend money;
x. Adopt operating budgets without authority from the Trustee in writing; and

xi. Enter into agreements of material importance to WCH’s operations without authority
from the Trustee in writing.

6. WCH?’s Existing Operational Challenges. Trustee acknowledges and agrees that WCH is
currently in the midst of substantial operational challenges and that Debtor is currently in bankruptcy. As
such, Manager is assuming interim management of WCH on an as-is, at-risk basis, it being the intention
of Trustee, Debtor, and Manager that Manager will utilize its skill and expertise as a manager of acute
general medical and surgical hospitals to deal with existing challenges and deficiencies—operational,
regulatory, or otherwise—currently present at WCH . After the Effective Date, Manager will coordinate
as needed with Trustee, Debtor, Consultant on the Management Services. Manager acknowledges and
agrees that during the Term of this Agreement, it shall not voluntarily surrender WCH’s license and that it
shall cooperate in good faith and use commercially reasonable efforts to support Trustee’s efforts in the
Bankruptcy Case.
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7. Termination of Agreement.

 

a. Termination by Trustee: This Agreement may be terminated by the Trustee for any reason
upon providing thirty [30] days’ advanced written notice to the other Parties. Termination by
any other Party shall require the consent of the Trustee and the approval of the Bankruptcy
Court.

b. Automatic Termination: This Agreement shall automatically terminate, unless Trustee in its
sole discretion elects not to terminate this Agreement, should:

i. Manager (a) file a petition in bankruptcy or a petition to take advantage of any
insolvency act; (b) make an assignment for the benefit of its creditors; (c) consent to
the appointment of a receiver of itself or of the whole or any substantial part of its
property; (d) file a petition or answer seeking reorganization or arrangement under the
federal bankruptcy laws or any other applicable law or statute of the United States of
America or any State thereof; or

ii. Any petition be filed against Manager under the federal bankruptcy laws, or any other
proceeding is instituted by or against Manager seeking to adjudicate it bankrupt or
insolvent, or seeking liquidation, reorganization, arrangement, adjustment or
composition of it or its debts under any law relating to bankruptcy, insolvency or
reorganization or relief of debtors.

8. Rights and Obligations Upon Termination.

a. Books and Records: Manager shall promptly deliver to Trustee all books, records, contracts,
leases, documents, receipts, and other papers or documents that pertain to WCH or Debtor and
have been held by Manager.

b. Mutual Cooperation: Manager and Trustee shall cooperate and fully comply with all
requirements of this Agreement to ensure a smooth transition.

c. Accounts: Should Manager receive any funds from any source related to the operation of WCH
after the termination of this Agreement, Manager shall deliver said funds to Trustee within
three (3) business days of their receipt.

9. LIMITATION OF LIABILITY: NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR
ANY SPECIAL, CONSEQUENTIAL, INCIDENTAL, PUNITIVE, OR INDIRECT DAMAGES,
NOR THE COST OF PROCURING SUBSTITUTE ITEMS OR SERVICES, ARISING FROM OR
RELATING TO ANY BREACH OF THIS AGREEMENT, REGARDLESS OF ANY NOTICE OF
THE POSSIBILITY OF SUCH DAMAGES. IN NO EVENT WILL MANAGER BE LIABLE FOR
SPECIAL OR CONSEQUENTIAL DAMAGES ARISING FROM THE PROVISIONS AND THE
PERFORMANCE OF SERVICES BY MANAGER UNDER THIS AGREEMENT, EVEN IF
MANAGER HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. EXCEPT AS
PROVIDED HEREIN, MANAGER DISCLAIMS ALL REPRESENTATIONS AND
WARRANTIES OF ANY KIND OR NATURE, EXPRESS OR IMPLIED [EITHER IN FACT OR
BY OPERATION OF LAW], WITH RESPECT TO ANY ITEM OR SERVICE PROVIDED
HEREUNDER, INCLUDING BUT NOT LIMITED TO, ANY WARRANTY OF
MERCHANTABILITY, TITLE, NON-INFRIGEMENT, OR FITNESS FOR A PARTICULAR
PURPOSE OR ANY WARRANTY ARISING FROM CONDUCT, COURSE OF DEALING,
CUSTOM, OR USAGE IN TRADE. In accordance with United Artists Theatre Co. v. Walton, 315
F.3d 217 (3rd Cir. 2003), this indemnification does not include: (1) claims by Washington County
Washington County Hospital
Interim Management Agreement

Hospital or Trustee against Manager for bad faith, gross negligence, or willful misconduct; and (2)
any contractual disputes between or among Washington County Hospital, Trustee, and Manager.

10. MUTUAL HOLD HARMLESS. Each Party shall defend, indemnify and hold the other Party, its
affiliated companies, shareholders, officers, directors, board members, agents, and employees
harmless from any and all claims by any other party (including reasonable attorneys' fees and costs of
litigation) and liabilities resulting from, but not limited to, each Party’s errors, acts, omissions,
misrepresentations or negligence in the performance of this Agreement.

11. Assignment. This Agreement may not be assigned or delegated by any Party without the express and
written consent of the Trustee. Trustee may assign its rights and obligations hereunder without the
consent of the other parties, provided however that such assignment has been approved by the
Bankruptcy Court. Any assignment or delegation in violation of the foregoing restriction shall be void.

12. Miscellaneous.

a. Notices: All notices or other communications required or permitted to be given under this
Agreement must be in writing. Notices are considered properly given and received three
business days after the postmark if sent by certified mail, return receipt requested, from within
the United States or one business day after being sent via overnight courier with delivery
confirmation (e.g., Express Mail, UPS or Federal Express) to any of the Parties at the addresses
shown below, or at such other address as any of the Parties may designate from time to time
by giving notice as required by this Agreement.

If to Debtor: CAH Acquisition Company #1, LLC
d/b/a Washington County Hospital
958 US Highway 64 East
Plymouth, NC 27962
Attn: Thomas W. Waldrep, Jr., Interim Chapter 7 Trustee
Email: notice@waldrepllp.com

If to Manager/Consultant iHealthcare Management II Company
3901 SW 28th Street, 2nd Floor
Miami, FL, 33142
Attn: Noel Mijares
Email: Noel.Mijares@ihealthcaresystems.com

iHealthcare Software Services, Inc.

3901 SW 28th Street, 2nd Floor

Miami, FL, 33142

Attn: Noel Mijares

Email: Noel.Mijares@ihealthcaresystems.com

b. HIPAA and Business Associate Agreement: The Parties, as Business Associates, hereby
acknowledge and agree to ensure compliance with the privacy standards adopted by the U.S.
Department of Health and Human Services as they may be amended from time to time, 45
C.F.R. Parts 160 and 164, subparts A, D and E, the security standards adopted by the U.S.
Department of Health and Human Services as they may be amended from time to time, 45
C.F.R. Parts 160, 162 and 164, subpart C , and the requirements of Title XIU, Subtitle D of
the Health Information Technology for Economic and Clinical Health (HITECH) Act
provisions of the American Recovery and Reinvestment Act of 2009, 42 U.S.C. §§ 17921-
Cc.

Washington County Hospital
Interim Management Agreement

17954, and all its implementing regulations, when and as each is effective and compliance is
required, as well as any applicable state confidentiality laws.

Liability Insurance. Manager shall use reasonable commercial efforts to obtain and/or
maintain in effect, on WCH's behalf, throughout the term of this Agreement, such policies (or
programs) of property/casualty coverage, public liability, professional liability, and hazard
insurance and other customary insurance coverages in commercially reasonable amounts and
as consistent with industry standards and the reasonable and prudent view of Trustee, who
shall be granted the sole discretion to designate the required amounts of coverage should the
coverage amounts be deemed inadequate. WCH shall be solely responsible for payment of
premiums for insurance levels obtained as required by this section.

Complete Agreement: This Agreement (i) contains the final, complete, and exclusive
agreement of the Parties with respect to the transactions contemplated by them and (ii)
supersedes any prior or contemporaneous agreement, representation or understanding, oral or
written, by and among any of them—including but not limited to the Terminating Agreements.
The Parties specifically disclaim reliance upon any statement or representation not contained
in this Agreement.

Severability: If any of the provisions of this Agreement are held invalid for any reason, the
remainder of this Agreement will not be affected and will remain in full force and effect in
accordance with its terms.

Captions: The captions preceding the text of each section of this Agreement have been inserted
solely for convenient reference. The captions neither constitute a part of this Agreement nor
affect its meaning, interpretation or effect.

Facsimiles/Counterparts: A signed facsimile or photocopy of this Agreement shall be binding
as an original. The Parties may sign this Agreement in counterparts. Each counterpart will be
deemed an original, and all of them, together, will constitute one and the same Agreement.

Governing Law/Jurisdiction: This Agreement shall be governed by North Carolina law
without regard to its conflicts-of-law law and the Parties agree that the Bankruptcy Court shall
be the exclusive venue for resolving any and all claims and disputes arising from the
Agreement or the provision of services as herein provided .

Binding Effect: This Agreement is binding upon and inures to the benefit of the parties and
their respective successors-in-interest, heirs, successors and assigns, except as otherwise

provided.

[Remainder of Page Left Intentionally Blank; Signature Page Follows]
Washington County Hospital
Interim Management Agreement

IN WITNESS WHEREOEF, the Parties hereto have executed this Agreement to be effective as of the
Effective Date.

ACCEPTED AND AGREED TO BY:

DEBTOR:

CAH ACQUISITION COMPANY #1, LLC,
a Delaware limited liability company d/b/a
Washington County Hospital and a/k/a
Washington County Community Hospital

By: TRUSTEE:

THOMAS W. WALDREP, JR.,
Interim Chapter 7 Trustee

By:
Name: Thomas W. Waldrep, Jr.
Title: Trustee

 

 

MANAGER:

IHEALTHCARE MANAGEMENT II COMPANY,
a Florida corporation

By:
Name: Noel Mijares
Title: Chief Executive Officer

 

 

 

CONSULTANT:

THEALTHCARE SOFTWARE SERVICES, INC.,
a Florida corporation

By:
Name: Noel Mijares
Title: Chief Executive Officer

 
EXHIBIT “B”
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA
GREENVILLE DIVISION

IN RE:
Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1,
LLC, d/b/a WASHINGTON COUNTY
HOSPITAL,

Chapter 11

Debtor.

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NOTICE OF MOTION

NOTICE IS HEREBY GIVEN of the TRUSTEE’S EMERGENCY MOTION FOR
AUTHORITY TO (1) REJECT CERTAIN EXECUTORY CONTRACTS WITH iHEALTHCARE
MANAGEMENT II COMPANY AND iHEALTHCARE SOFTWARE SERVICES, INC. AND (2)
ENTER INTO INTERIM MANAGEMENT AGREEMENT WITH iHEALTHCARE
MANAGEMENT II COMPANY AND iHEALTHCARE SOFTWARE SERVICES, INC. (“Motion”)
filed simultaneously herewith in the above captioned case; and,

FURTHER NOTICE IS HEREBY GIVEN that this Motion may be allowed provided no responses
and request for a hearing is made by a party in interest in writing to the Clerk of this Court by 5:00p.m. on
March 26, 2019; and,

FURTHER NOTICE IS HEREBY GIVEN, that a hearing will be conducted on the motion and any
response thereto on Wednesday, March 27, 2019 at 11:00 a.m. at the United States Bankruptcy Court,
150 Reade Circle, Greenville, North Carolina. Any party requesting a hearing shall appear at said
hearing in support of such request or he may be assessed Court costs. If no request for a hearing is timely
filed, the Court may rule on the Motion and response thereto ex parte without further notice. Any party
filing an objection requesting a hearing, shall appear at said hearing or they may be taxed with Court costs

DATED: March 21, 2019 WALDREP LLP

/si Thomas W. Waldrep, Jr.

Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
Jennifer B. Lyday (NC Bar No. 39871)

Francisco T. Morales (NC Bar No. 43079)

101 S. Stratford Road, Suite 210

Winston-Salem, NC 27104

Telephone: 336-717-1440

Telefax: 336-717-1340

Email: notice@waldrepllp.com

Attorneys for the Trustee

11
- and -
HENDREN, REDWINE & MALONE, PLLC

Jason L. Hendren (NC State Bar No. 26869)

Rebecca F. Redwine (NC Bar No. 37012)

4600 Marriott Drive, Suite 150

Raleigh, NC 27612

Telephone: 919-420-7867

Telefax: 919-420-0475

Email: jhendren@hendrenmalone.com
rredwine@hendrenmalone.com

Proposed Attorneys for the Trustee

12
CERTIFICATE OF SERVICE

I, Thomas W. Waldrep, Jr., 101 S. Stratford Road, Suite 210, Winston Salem, North
Carolina 27104, certify:

That I am, at all times hereinafter mentioned, was, more than eighteen (18) years of age;

That on the 21st day of March, 2019, I served copies of the foregoing pleading on the
parties listed below and attached exhibit “A”, by depositing a copy of the same in the United States
mail bearing sufficient postage.

I certify under penalty of perjury that the foregoing is turn and correct.

Dated: March 21, 2019 WALDREP LLP

/sl Thomas W. Waldrep, Jr.

Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
Jennifer B. Lyday (NC Bar No. 39871)

Francisco T. Morales (NC Bar No. 43079)

101 S. Stratford Road, Suite 210

Winston-Salem, NC 27104

Telephone: 336-717-1440

Telefax: 336-717-1340

Email: notice@waldrepllp.com

Attorneys for the Trustee
- and -
HENDREN, REDWINE & MALONE, PLLC

Jason L. Hendren (NC State Bar No. 26869)

Rebecca F. Redwine (NC Bar No. 37012)

4600 Marriott Drive, Suite 150

Raleigh, NC 27612

Telephone: 919-420-7867

Telefax: 919-420-0475

Email: jhendren@hendrenmalone.com
rredwine@hendrenmalone.com

Proposed Attorneys for the Trustee

13
To:
Marjorie K. Lynch
Office of the Bankruptcy Administrator

Rayford K. Adams
Counsel for the Debtor

Terri L. Gardner

Counsel for Medline Industries, Inc.
Counsel for Washington County, NC
Counsel for Robert Venable, M.D.

Katherine M. McCraw
Counsel for NC DHHS

iHealthcare Management II Company
Attn: Noel Mijares

3901 SW 28th Street, 2nd Floor
Miami, FL, 33142

(via CM/ECF)

(via CM/ECF)

(via CM/ECF)

(via CM/ECF)

Email: Noel.Mijares@ihealthcaresystems.com

iHealthcare Software Services, Inc.
Attn: Noel Mijares

3901 SW 28th Street, 2nd Floor
Miami, FL, 33142

Email: Noel.Mijares@ihealthcaresystems.com

14
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Label Matrix for local noticing
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Case 19-0073

     
     
   
  

CAH Acquisition Company #1, LLC

c/o Corporation Service Co. Reg. Agent
2626 Glenwood Avenue Suite 550
Raleigh, NC 27608-1370

Terri L. Gardner
Nelson Mulling-Rrtéy & Scarborough, LLP
ake Avenue, Suite 200

igh, NC 27612-3731

Katherine Montgomery McCr,

 

Raleigh, NC 27602-0629

NC Department of Revenue

Office Services Div., Bankruptcy Unit
PO Box 1168

Raleigh, NC 27602-1168

Quest Diagnostics Clinical Laboratories Inc,

c/o Melody Graden MR 481
1001 Adams Ave
Norristown, PA 19403-2401

Robert Venable, M.D.
Post Office Box 1026
Plymouth, NC 27962-1026

Washington County, NC
Post Office Box 1007
Plymouth, NC 27962-1007

Rayford K. Adams III

Spilman Thomas & Battle, PLLC
110 Oakwood Dr,, Suite 500
Winston-Salem, NC 27103-1958

 
 
 
 

Bankruptcy Administrat
Two Hannover @, Ste. 640

@igh, NC 27601-1701

CAH Acquisition Company #1, LLC d/b/a W
958 U.S. Highway 64 East
Plymouth, NC 27962-9216

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELPHIA PA 19101-7346

Medline Industries, Inc.
Three Lakes Drive
Northfield, IL 60093-2753

Jorge Perez
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The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.§.C, 342(f) and Fed.R.Bank,P. 2002 (g) (4).
